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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                  _
                                   )
GLORIA LONGO                       )
     Plaintiff,                    )
                                   )
                                   )
v.                                 ) Civil Action No. 4:13-cv- 00987
                                   )
                                   )
COMMERCIAL RECOVERY SYSTEMS, INC.,)
JOHN DOES, and JANE DOES           )
     Defendants,                   )
                                   )




COMPLAINT AND DEMAND FOR JURY TRIAL



                 I.      INTRODUCTION


1. This is an action for actual and statutory damages brought by plaintiff Gloria Longo,

an individual consumer, against Defendants’ violations of the law, including, but not

limited to violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(hereinafter ‘‘FDCPA’’) which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices; by these Defendants and their agents in their illegal

efforts to collect a consumer debt from Plaintiff.
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                  II.     JURISDICTION


2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), which states that such

actions may be brought and heard before, “[A]ny appropriate United States district court

without regard to the amount in controversy,” and also under 28 U.S.C. § 1331 and 1337.



3. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(1) in that the

defendants reside here, and all known defendants are residents of the State in which the

district is located. Since Defendants transact business and resides here, personal

jurisdiction is established.



                  III.    PARTIES


4. Plaintiff, Gloria Longo (hereinafter “Plaintiff”) is a consumer, as that term is defined

by 15 U.S.C. § 1692a(3), as well as a natural person allegedly obligated to pay any debt,

residing in Solano County, in the state of California.



5. Defendant, Commercial Recovery Systems, Inc. (hereinafter “CRS”) is a collection

agency and limited partnership engaged in the business of collecting debt in this state

with its principal place of business located in Harris County, in the state of Texas at 8035

E. RL Thornton, Suite 220, Dallas, Texas 75228.



6. Defendant John Does 1-10 (hereinafter “Defendant John Does”) are natural person(s)

who were employed by Defendant as collection agents, whose identities are currently
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unknown to Plaintiff. Defendant John Does are “debt collectors” as that term is defined

by the FDCPA, 15 U.S.C. § 1692a(6). One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.



7. Defendant Jane Does 1-10 (hereinafter “Defendant Jane Does”) are natural person(s)

who was employed by Defendant as collection agents, whose identities are currently

unknown to Plaintiff. Defendant Jane Does are “debt collectors” as that term is defined

by the FDCPA, 15 U.S.C. § 1692a(6). One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.



8. Plaintiff is informed and believes, and thereon alleged, that Defendants use

instrumentalities of interstate commerce or the mails in any business, the principal

purpose of which being the collection of debts. Defendants are engaged in the collection

of debts from consumers using the mail, electronic mail, facsimile, and telephone, and

regularly collects or attempts to collect, directly or indirectly, debts owed or due or

alleged to be owed or due another, being a ‘‘debt collector’’ as defined by the FDCPA,

15 U.S.C. § 1692a(6).



9. At all relevant times, Defendant CRS acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives, and insurers.
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                  IV.    FACTUAL ALLEGATIONS


10. Sometime before 2013, Plaintiff, Gloria Longo, incurred a financial obligation that

was primarily for personal, family, or household purposes and is therefore a ‘debt’, as

that term is defined by the FDCPA, 15 U.S.C. § 1692a(5).



11. Upon information and belief, at some point the alleged debt was consigned, placed or

otherwise transferred to Defendants for collection from Plaintiff Gloria Longo.



12. The debt that Defendants are attempting to collect on is an alleged obligation of a

consumer to pay money arising out of a transaction in which the money, property,

insurance or services which are the subject of the transaction are primarily for personal,

family, or household purposes, whether or not such obligation has been reduced to

judgment, as, again, defined by the FDCPA, 15 U.S.C. § 1692a(5).



13. Defendants then within one year prior to the filing of this complaint, threatened to

garnish Plaintiff’s wages themselves, making misleading communications implying the

immediacy and amount by which this would occur in the event of Plaintiff not making

immediate payment, when they could not do what they threatened, in violation of the

FDCPA.



14. Defendants, during communications with Plaintiff, within one year prior to the filing

of this complaint, did not state that Defendants were debt collectors, attempting to collect

on a debt, and that any information obtained would be used for that purpose.
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15. As a result of the acts alleged above, Defendants caused Plaintiff to become very

upset because of the aggressive manner in which this alleged debt was collected by these

Defendants.



16. Plaintiff suffered actual damages as a result of these illegal collection

communications by these Defendants in the form of anger, anxiety, emotional distress,

frustration, and upset, amongst other negative emotions.



17. Defendants’ illegal abusive collection communications as more fully described above

were the direct and proximate cause of emotional distress on the part of Plaintiff.



                 V.      CAUSES OF ACTION

                             COUNT I
     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                       15 U.S.C. § 1692 et seq.


18. Plaintiff Gloria Longo repeats, realleges, and incorporates by reference all of the

above paragraphs of this Complaint as though fully stated herein.



19. The foregoing acts and omissions of each Defendant and their agents constitute

numerous and multiple violations of the FDCPA including, but not limited to, each and

every one of the provisions of the FDCPA, 15 U.S.C. § 1692 et seq., cited above, and

below, with respect to Plaintiff:
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         (a) Defendants violated §1692f of the FDCPA by using unfair or

             unconscionable means in connection with the collection of an alleged

             debt; and



         (b) Defendants violated §1692e(11) of the FDCPA by failing to disclose

            in the oral communications with Plaintiff that the communications

            were from a debt collector, and that the debt collector was attempting

            to collect a debt, and that any information obtained would be used for

            that purpose, when said communications were not formal pleadings;

            and



         (c) Defendants violated §1692e(10) of the FDCPA by using false,

            deceptive, or misleading representation or means in connection with

            the collection of Plaintiff’s alleged debt; and



         (d) Defendants violated §1692e(2)(B) of the FDCPA by falsely

            representing the services rendered or compensation which may be

            lawfully received by Defendants for the collection of the alleged debt;

            and



         (e) Defendants violated §1692e(5) of the FDCPA by threatening to take

            action that it did not intend to take.
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20. Defendants’ acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.



21. As a result of the foregoing violations of the FDCPA, Defendants are liable to the

Plaintiff for actual damages pursuant to 15 U.S.C. § 1692k(a)(1), statutory damages in an

amount up to $1000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A), and reasonable costs and

attorney fees pursuant to 15 U.S.C. § 1692k(a)(3), from each Defendant herein.




                  VI.    PRAYER FOR RELIEF



WHEREFORE, Plaintiff Gloria Longo respectfully requests that judgment be entered

against each Defendant for the following:



A. Actual damages from each Defendant pursuant to 15 U.S.C. § 1692k(a)(1) for the

emotional distress suffered as a result of the intentional and/or negligent FDCPA

violations; in an amount to be determined at trial and for Plaintiff.



B. Statutory damages of $1000.00 from each Defendant pursuant to 15 U.S.C. §

1692k(a)(2)(A).



C. Costs and reasonable attorney fees from each Defendant and for Plaintiff pursuant to

15 U.S.C. § 1692k(a)(3).
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D. For such other and further relief as the Court may deem just and proper.




Dated: April 7, 2013                                   RESPECTFULLY SUBMITTED,
                                                       By: /s/ Kevin Crick
                                                       Kevin Crick
                                                       BBO: 680950
                                                       Consumer Rights Law Firm, PLLC
                                                       300 Brickstone Square, Suite 902
                                                       Andover, Massachusetts 01810
                                                       Phone: (978) 212-3300
                                                       Fax: (978) 409-1846
                                                       kevinc@consumerlawfirmcenter.com
                                                       Attorney for Plaintiff


                             DEMAND FOR JURY TRIAL

Please take notice that Plaintiff Gloria Longo demands trial by jury in this action on all

issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.
